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                         THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


SHYKIA NELSON

         PLAINTIFFS                                           Case No.:

v.

KEEP SMILING DENTAL PA

         DEFENDANT.

__________________________/

                                          COMPLAINT

         Plaintiff, by and through her undersigned counsel, brings this action for damages against

Defendant, Keep Smiling Dental PA. Plaintiff sues Defendant pursuant to 42 U.S.C. § 1981 to

recover damages for the racial discrimination and retaliation she suffered while employed by

Defendant. Specifically, Plaintiff is a Black female and was assaulted by Defendant’s White

employee because of Plaintiff’s race. Plaintiff called the local police to report the racially

discriminatory hate crime and Plaintiff was terminated by Defendant for reporting the race

discrimination and hate crime to the local police. In further support of her claims, Plaintiff states

as follows:

                                              Parties

         1.     Plaintiffs, Shykia Nelson, is a qualified Black female and was employed by

Defendant for one year as a dental assistant in Clearwater, Florida.

         2.     Defendant is a for-profit, domestic corporation operating as dental office in

Clearwater, Florida.




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       3.      Plaintiff worked for Defendant in Clearwater, Florida as a dental assistant from

July 2017 until her wrongful termination in November 2019.

                                              Jurisdiction

       4.      Plaintiff is domiciled in Pinellas County, Florida.

       5.      Defendant is a corporation domiciled in Pinellas County, Florida.

       6.      Defendant conducts business and employed Plaintiff in Pinellas County, Florida.

       7.      All material events occurred in Pinellas County, Florida.

       8.      This lawsuit has been filed in a timely manner.

       9.      All prerequisites have been satisfied.

       10.     Plaintiff is a qualified Black female and, therefore, a member of a protected class

due to her race.

       11.     Defendant is an employer subject to 42 U.S.C 1981.

       12.     Plaintiff is entitled by virtue of 42 U.S.C. 1981 to be protected from racial

discrimination and is further entitled to be free from retaliation in the workplace for reporting to

their employer Plaintiff’s race-based discrimination related complaints.

                                      General Factual Allegations

       13.     Plaintiff was employed by Defendant as a dental assistant from approximately

July 18, 2018 until November 15, 2019.

       14.         As a dental assistant, Plaintiff was responsible for assisting Defendant’s dentists

in performing routine dental practices.

       15.     As a dental assistant, Plaintiff was under the supervision of Defendant’s “lead

dental assistant.”




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          16.     Defendant’s lead dental assistant is a White female and Plaintiff is a Black

female.

          17.     From the time of Plaintiff’s hire and continuing until her wrongful termination,

Defendant’s White lead dental assistant discriminated against, harassed, and belittled Plaintiff on

account of Plaintiff’s race.

          18.     Specifically, Defendant’s lead dental assistant routinely belittled Plaintiff because

of Plaintiff’s race and assigned Plaintiff to undesirable jobs and assignments due to Plaintiff’s

race.

          19.     Defendant’s lead dental assistant did not belittle any non-Black dental assistants.

          20.     In fact, Plaintiff was the only Black dental assistant in Defendant’s employ during

the entire time of Plaintiff’s employment with Defendant.

          21.     Plaintiff objected to the racially discriminatory treatment by Defendant’s lead

dental assistant.

          22.     On or about November 14, 2019, Plaintiff spoke directly with Defendant’s White

lead dental assistant and Plaintiff made a good faith objection to the racially discriminatory

treatment towards Plaintiff.

          23.     In response to Plaintiff’s good faith objection to the White lead assistant’s

discriminatory treatment, the White lead assistant backhand slapped Plaintiff across the face in

full view of Defendant’s owner and other employees.

          24.     The White lead assistant slapped Plaintiff with such brutality and force that it

caused Plaintiff’s face to bruise and swell.

          25.     Immediately after the White dental assistant slapped Plaintiff, Plaintiff was in fear

for her safety.




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       26.     The racial discrimination had reached a crescendo and Plaintiff immediately

called the police to report a hate crime and a racially motivated attack on her person by

Defendant’s white employee.

       27.     The pure depravity of the White dental assistant’s attack on Plaintiff was

completely unexpected by Plaintiff and unprovoked by Plaintiff.

       28.     Indeed, the White lead assistant had not physically assaulted any non-Black

employees in Defendant’s office, only Plaintiff.

       29.     Defendant terminated Plaintiff’s employment in response to Plaintiff calling the

police to report a racially motivated crime.

       30.     Specifically, Defendant’s dentist told Plaintiff she was being fired “because you

called the police.”

       31.     Plaintiff’s intention in calling the police was to complaint about, object to, and

report racial discrimination and a racially motivated assault on Plaintiff’s person by Defendant’s

White employee.

       32.     Prior to Plaintiff calling the police to report racial discrimination, Plaintiff was in

good standing with Defendant and had no expectation of termination.

       33.     Defendant retaliated against Plaintiff for objecting to racial discrimination in the

workplace.

       34.     Defendant did not terminate the White employee who slapped Plaintiff.

       35.     Plaintiff was damaged emotionally and financially as a direct result of

Defendant’s wrongful termination.




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                                        Count One
                      Race Discrimination in violation of 42 U.S.C. 1981

       36.     Plaintiffs hereby incorporates and re-alleges 1-3, above.

       37.     Plaintiffs is a Black female and is therefore a member of a protected class due to

her race.

       38.     Plaintiff was the only Black employee employed by Defendant during Plaintiff’s

employment with Defendant.

       39.     Plaintiff worked under the direct supervision of Defendant’s lead dental assistant

who is a White female.

       40.     Defendant consistently and habitually treated Plaintiff in a less favorable manner

than non-Black employees in Defendant’s workplace.

       41.     Defendant treated Plaintiff in a less favorable manner than non-Black employees

because Plaintiff is a Black female.

       42.     Plaintiff NELSON was entitled to be treated in the same manner as non-Black

employees and was entitled to receive the same terms, conditions, privileges, and benefits as the

non-Black employees in Defendant’s workplace.

       43.     42 U.S.C. 1981, in pertinent part states “All persons within the jurisdiction of the

United States shall have the same right in every State and Territory to make and enforce

contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws and

proceedings for the security of persons and property as is enjoyed by white citizens, and shall be

subject to like punishment, pains, penalties, taxes, licenses, and exactions of every kind, and to

no other, thereby prohibiting employers such as Defendant from subjecting Plaintiff to a racially

hostile work place.




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        44.        Plaintiff reported and objected to the racially disparate workplace which Plaintiff

was subjected while employed by Defendant.

        45.        Under 42 U.S.C. 1981, Defendant was not permitted to subject Plaintiff to a

racially disparate workplace.

        46.        Despite the provisions of 42 U.S.C. 1981, Defendant both subjected Plaintiff to a

racially hostile work place in violation of 42 U.S.C. 1981 and took adverse employment actions

against Plaintiff.

        47.        Plaintiff was damaged as a direct result of Defendant’s discriminatory treatment

and retaliation.

                                              Count Two
                               Retaliation in violation of 42 U.S.C. 1981

        48.        Plaintiffs hereby incorporates and re-alleges 1-35, above.

        49.        Plaintiff is a Black female and therefore a member of a protected class due to her

race.

        50.        Plaintiff were employed by Defendant until approximately November 15, 2019.

        51.        Plaintiff was subjected to racially disparate work place environment repeatedly

throughout the period of time in which Plaintiff worked for Defendant.

        52.        Defendant consistently and habitually treated Plaintiff in a less favorable manner

than non-black employees in Defendant’s workplace.

        53.        Defendant treated Plaintiff in a less favorable manner than non-Black employees

because Plaintiff is a Black female.

        54.        Plaintiff was entitled to be treated in the same manner as non-Black employees

and was entitled to receive the same terms, conditions, privileges, and benefits as the non-Black

employees in Defendant’s workplace.



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       55.     42 U.S.C. 1981, in pertinent part states “All persons within the jurisdiction of the

United States shall have the same right in every State and Territory to make and enforce

contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws and

proceedings for the security of persons and property as is enjoyed by white citizens, and shall be

subject to like punishment, pains, penalties, taxes, licenses, and exactions of every kind, and to

no other, thereby prohibiting employers such as Defendant from subjecting Plaintiff to a racially

hostile work place.

       56.     Plaintiff reported and objected to the racially disparate workplace which Plaintiff

was subjected while employed by Defendant.

       57.     More specifically, Plaintiff contacted the local police department to complain of

racial discrimination and a racially motivated assault on Plaintiff by Defendant’s White

employee.

       58.     Plaintiff also complained to Defendant about the racially motivated assault by

Defendant’s White employee.

       59.     Plaintiff’s complaints were made in good faith and were protected activities.

       60.     Under 42 U.S.C. 1981, Defendant was not permitted to retaliate against Plaintiff

for her good faith complaints to Defendant and the local police.

       61.     Despite the provisions of 42 U.S.C. 1981, Defendant retaliated against Plaintiff

with extreme prejudice in direct response to Plaintiff good faith complaints about racial

discrimination.

       62.     Defendant terminated Plaintiff’s employment because Plaintiff complained about

racial discrimination.




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       63.     But for Plaintiff’s complaint to the local police about racial discrimination and a

racially motivated assault, Defendant would not have terminated Plaintiff’s employment.

       64.     Plaintiff was damaged as a direct result of Defendant’s retaliatory behavior.



                              Jury Demand and Prayer for Relief

WHEREFORE, Plaintiffs desires a trial by jury and judgment and all relief available under 42

U.S.C. 1981, including emotional distress, punitive, compensatory damages as well as

reasonable attorney fees and costs and pre-judgment interest, not back or front pay.



DATED this 26th day of January 2021.


                                                     /S/ Kyle J. Lee
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